Case 4:20-cv-00957-SDJ Document 555-8 Filed 07/12/24 Page 1 of 13 PageID #: 18633




                       EXHIBIT 6
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Case 4:20-cv-00957-SDJ Document 555-8 Filed 07/12/24 Page 2 of 13 PageID #: 18634
                              HIGHLY CONFIDENTIAL


                                                                    Page 1

  1                  UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF TEXAS
  2                          SHERMAN DIVISION
  3         STATE OF TEXAS, et al,      )
                                        )
  4               Plaintiffs,           )   CASE NO.
                                        )   4:20cv00957-SDJ
  5         v.                          )
                                        )
  6         GOOGLE, LLC,                )
                                        )
  7               Defendant.            )
            ________________________    )
  8
  9
 10
 11                             __ __ __
 12                       Friday, May 17, 2024
 13                             __ __ __
 14                       HIGHLY CONFIDENTIAL
 15                  PURSUANT TO PROTECTIVE ORDER
 16                            __ __ __
 17                          Remote Video-Recorded Oral
             Fed. R. Civ. P. 30(b)(6) Deposition of GOOGLE
 18          CHAT, BY AND THROUGH              held at the
             offices of Veritext, 1000 SW Broadway, Suite
 19          1660, Portland, Oregon, commencing at
             9:12 a.m. PDT on the above date, before Debra
 20          A. Dibble, Fellow of the Academy of
             Professional Reporters, Certified Court
 21          Reporter, Registered Diplomate Reporter,
             Certified Realtime Reporter and Notary
 22          Public.
                               __ __ __
 23
                            Job No. MDLG6695561
 24                          GOLKOW - VERITEXT
                      877.370.DEPS | fax 917.591.5672
 25                           deps@golkow.com

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Case 4:20-cv-00957-SDJ Document 555-8 Filed 07/12/24 Page 3 of 13 PageID #: 18635
                              HIGHLY CONFIDENTIAL


                                                                    Page 2

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 20              MARA BOUNDY, ESQUIRE
                 Google LLC
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 22                  JEFF NIEMCZURA, ESQUIRE (via Zoom)
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Case 4:20-cv-00957-SDJ Document 555-8 Filed 07/12/24 Page 4 of 13 PageID #: 18636
                              HIGHLY CONFIDENTIAL


                                                                    Page 3

  1           APPEARANCES:
  2           ALSO PRESENT (continued):
  3                    JONATHAN JAFFE (via Zoom)
  4
  5           TRIAL TECHNICIAN/VIDEOGRAPHER:
  6                  DAN LAWLOR
                     Golkow - Veritext
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Case 4:20-cv-00957-SDJ Document 555-8 Filed 07/12/24 Page 5 of 13 PageID #: 18637
                              HIGHLY CONFIDENTIAL


                                                                    Page 4

  1                                      INDEX
  2
  3          APPEARANCES                                                    2
  4          PROCEEDINGS                                                    9
  5
  6          EXAMINATION OF                         :
  7                  BY MR. COLLIER                                       10
  8                  BY MR. MCCALLUM                                     247
  9
 10          CERTIFICATE                                                 255
 11
 12
 13
 14
 15
 16
 17
 18
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 22
 23
 24
 25

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Case 4:20-cv-00957-SDJ Document 555-8 Filed 07/12/24 Page 6 of 13 PageID #: 18638
                              HIGHLY CONFIDENTIAL


                                                                    Page 5

  1                                    DEPOSITION EXHIBITS

  2          NUMBER                         DESCRIPTION                PAGE

  3          Exhibit 415                          LinkedIn                 12

  4                              Profile

  5          Exhibit 416         Transcript of Proceedings,                32

  6                              In re Google Play Store

  7                              Antitrust Litigation

  8          Exhibit 417         Docket, USA v. Google                     44

  9          Exhibit 418         12/2/11 Press Release,                    45

 10                              Statement of DOJ's Antitrust

 11                              Division on its Decision to

 12                              Close Its Investigation

 13          Exhibit 419         8/9/12 Press Release, Google              47

 14                              Will Pay $22.5 Million to

 15                              Settle FTC Charges

 16          Exhibit 420         1/3/13 Press Release, Google              48

 17                              Agrees to Change Its

 18                              Business Practices to

 19                              Resolve FTC Competition

 20                              Concerns

 21          Exhibit 421         E-mail(s) re: Press Reports:              53

 22                              FTC Investigation & Google

 23                              Display, GOOG-DOJ-18360214 -

 24                              GOOG-DOJ-18360221

 25

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Case 4:20-cv-00957-SDJ Document 555-8 Filed 07/12/24 Page 7 of 13 PageID #: 18639
                              HIGHLY CONFIDENTIAL


                                                                      Page 6

  1          Exhibit 422         Excerpt of Google Privilege               56

  2                              Log

  3          Exhibit 423         5/16/24 Privilege Log                     59

  4                              Analysis

  5          Exhibit 424         E-mail(s) re: CID to                      65

  6                              Alphabet Inc.,

  7                              GOOG-NE-11319529

  8          Exhibit 425         State of Texas Civil                      70

  9                              Investigative Demand,

 10                              GOOG-UT-00000034 -

 11                              GOOG-UT-00000072

 12          Exhibit 426                                                   97

 13

 14

 15                              GOOG-DOJ-019569563 -

 16                              GOOG-DOJ-019569564

 17          Exhibit 427                                        ?!,       102

 18                              USDOJ-GOOGEX-000253 -

 19                              USDOJ-GOOGEX-000304

 20          Exhibit 428         8/23/17 Chat History,                    127

 21                              GOOG-AT-MDL-008029060 -

 22                              GOOG-AT-MDL-008029061

 23

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Case 4:20-cv-00957-SDJ Document 555-8 Filed 07/12/24 Page 8 of 13 PageID #: 18640
                              HIGHLY CONFIDENTIAL


                                                                    Page 7

  1          Exhibit 429         Internal Document,                       143

  2                              Architecture - G Suite in

  3                              Regulated Industries,

  4                              GOOG-DOJ-28387270 -

  5                              GOOG-DOJ-28387342

  6          Exhibit 430         TLC Commitment Tracking                  150

  7                              Document, GOOG-DOJ-14815029

  8          Exhibit 431         Google Chat Retention                    158

  9                              Policy,

 10                              GOOG-AT-MDL-009709520 -

 11                              GOOG-AT-MDL-009709521

 12          Exhibit 432         Google Chat Retention                    176

 13                              Policy,

 14                              GOOG-AT-MDL-009709508 -

 15                              GOOG-AT-MDL-009709509

 16          Exhibit 433         Google Chat Retention                    186

 17                              Policy,

 18                              GOOG-AT-MDL-009709522-

 19                              GOOG-AT-MDL-009709523

 20          Exhibit 434         Google Chat Retention                    190

 21                              Policy,

 22                              GOOG-AT-MDL-009709506 -

 23                              GOOG-AT-MDL-009709507

 24

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Case 4:20-cv-00957-SDJ Document 555-8 Filed 07/12/24 Page 9 of 13 PageID #: 18641
                              HIGHLY CONFIDENTIAL


                                                                    Page 8

  1          Exhibit 435         Google Chat Retention                    190

  2                              Policy,

  3                              GOOG-AT-MDL-009709518 -

  4                              GOOG-AT-MDL-009709519

  5          Exhibit 436         2/9/23 Chat History,                     209

  6                              GOOG-AT-MDL-008548075 -

  7                              GOOG-AT-MDL-008548077

  8          Exhibit 437         10/12/21 Chat History,                   212

  9                              GOOG-AT-MDL-B-004073824 -

 10                              GOOG-AT-MDL-B-004073826

 11          Exhibit 438         Findings of Fact and                     222

 12                              Conclusions of Law Re Chat

 13                              Preservation

 14          Exhibit 439         Matrix of Produced Chats by              233

 15                              year with notations by

 16                              witness

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Case 4:20-cv-00957-SDJ Document 555-8 Filed 07/12/24 Page 10 of 13 PageID #: 18642
                               HIGHLY CONFIDENTIAL


                                                                    Page 9

  1                                  ------------
  2                           P R O C E E D I N G S
  3                       May 17, 2024, 9:12 a.m. PDT
  4                                      ------------
  5                             THE VIDEOGRAPHER:           We are now
  6                  on the record.            My name is Dan Lawlor.
  7                  I'm the videographer representing
  8                  Golkow Litigation Services.
  9                             Today's date is May 17, 2024,
 10                  and the time is 9:12 a.m.
 11                             This video deposition is being
 12                  held in Portland, Oregon in the matter
 13                  of The State of Texas v. Google LLC.
 14                             The deponent is                          .
 15                             Counsel will be noted on the
 16                  stenographic record.
 17                             The court reporter is Debbie
 18                  Dibble, and will now swear in the
 19                  witness.
 20                             *    *     *
 21                             *    *     *
 22                             *    *     *
 23                             *    *     *
 24                             *    *     *
 25                             *    *     *

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Case 4:20-cv-00957-SDJ Document 555-8 Filed 07/12/24 Page 11 of 13 PageID #: 18643
                               HIGHLY CONFIDENTIAL


                                                                  Page 124

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Case 4:20-cv-00957-SDJ Document 555-8 Filed 07/12/24 Page 12 of 13 PageID #: 18644
Case 4:20-cv-00957-SDJ Document 555-8 Filed 07/12/24 Page 13 of 13 PageID #: 18645
